85 F.3d 616
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Dean MEARS, Plaintiff-Appellant,v.UNITED STATES of America;  United States Department ofJustice;  Federal Bureau of Prisons;  John Hahn,Warden;  Calvin Weaver, CampAdministrator;  Robert Flynn,Counselor,Defendants-Appellees.
    No. 95-8525.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 21, 1996.Decided:  April 29, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Leonie M. Brinkema, District Judge.  (CA-95-1561-A)
      Richard Dean Mears, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his petition for writ of mandamus.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Mears v. United States, No. CA-95-1561-A (E.D.Va. Nov. 9, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    